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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA
               V.

 ROBERT MENENDEZ, NADINE MENENDEZ,                               23-Cr-490 (SHS)
 WAEL HANA, JOSE URIBE, and FRED DAIBES,                         ORDER
                            Defendants.


SIDNEY H. STEIN, U.S. District Judge.
     Pursuant to paragraph two of the "REVISED SECURITY PROCEDURES
ESTABLISHED PURSUANT TO PUB. L. 96-456, 94 STAT. 2025, BY THE CHIEF
JUSTICE OF THE UNITED STATES FOR THE PROTECTION OF CLASSIFIED
INFORMATION," and upon the recommendation of the Department of Justice Security
Officer, the Court designates Supervisory Security Specialist Harry J. Rucker as the
Classified Information Security Officer and Security Specialists Daniel 0. Hartenstine,
Daniella M. Medel, Matthew W. Mullery, and Winfield S. Slade as alternate Classified
Information Security Officers in the above-captioned case. The Department of Justice
Security Officer has certified in writing that each of the above-mentioned individuals is
cleared for the level and category of classified information that will be involved in this
litigation.
    IT IS HEREBY ORDERED that Harry J. Rucker will serve as the Classified
Information Security Officer in the above-captioned case and that Daniel 0.
Hartenstine, Daniella M. Medel, Matthew W. Mullery, and Winfield S. Slade will serve
as alternate Classified Information Security Officers in the same.


Dated: New York, New York
       October 3, 2023

                                          SO ORDERED:



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                                            Sidney   if Stein, U~.D.J.
